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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                     :
                                                             :
                                                                 ORDER
v.                                                           :
                                                             :
                                                                 19 CR 700-03 (VB)
JASON BOGAN,                                                 :
                           Defendant.                        :
-------------------------------------------------------------x

        A change of plea hearing in this case is scheduled for January 27, 2021, at 3:00 p.m.,
for the purpose of the entry of a guilty plea.

       Because of the current public health emergency, the Court expects to conduct the status
conference by videoconference via Skype for Business (or by telephone conference if
videoconferencing is not reasonably available).

        Accordingly, it is hereby ORDERED:

        1.     The guilty plea proceeding will be conducted through Skype for Business. In
advance of the guilty plea hearing, Chambers will email all counsel with further information on
how to access the hearing. Those participating by video will click on the link or calendar invite
to be provided by Chambers. Only the Court, the defendant, defense counsel, and counsel for the
government will appear by video for the proceeding; all others will participate by telephone.
Only one counsel per party may participate by video. Co-counsel, members of the press, and the
public may access the audio feed of the conference by calling (917) 933-2166 and entering
Conference ID 971698242#.

       2.     To optimize use of the Court’s videoconferencing technology, all participants
appearing by video must:

                 a.       Use a web browser other than Microsoft Explorer to access Skype for
                          Business;

                 b.       Use hard-wired internet or WiFi. If using WiFi, the device should be
                          positioned as close to the WiFi router as possible to ensure a strong signal.
                          (Weak signals may cause delays or dropped feeds.)

                 c.       Minimize the number of others using the same WiFi router during the
                          conference.




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        3.       If Skype for Business does not work well enough and the Court decides to
transition to its teleconference line, counsel and defendant should call (888) 363-4749 (toll free)
or (215) 446-3662 and use Access Code 1703567. (Members of the press and public may call
the same number but will not be permitted to speak during the conference.)

Dated: January 8, 2021
       White Plains, NY
                                              SO ORDERED:



                                              ____________________________
                                              Vincent L. Briccetti
                                              United States District Judge




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